
















In The


Court of Appeals


Sixth Appellate District of Texas at Texarkana



______________________________



No. 06-02-00007-CV


______________________________




CUDD PRESSURE CONTROL, INC., Appellant



V.



SONAT EXPLORATION COMPANY, Appellee




                                              


On Appeal from the 71st Judicial District Court


Harrison County, Texas


Trial Court No. 99-0199-1




                                                 




Before Cornelius, C.J., Grant and Ross, JJ.


Opinion by Justice Ross



O P I N I O N



	Cudd Pressure Control, Inc. has appealed from a judgment rendered against it in a jury trial. 
The clerk's record has been filed.  Sonat Exploration Company has now filed a motion asking us to
dismiss the appeal because it is not from a final judgment.  This is a critical question, because if no
final judgment exists, this Court has no jurisdiction over the appeal.  Tex. Civ. Prac. &amp; Rem. Code
Ann. § 51.012 (Vernon 1997) (final judgment of district and county courts); see N. E. Indep. Sch.
Dist. v. Aldridge, 400 S.W.2d 893, 895 (Tex. 1966).  With only a few exceptions, an appeal is
allowed only from final judgments of a district or county court.  Hinde v. Hinde, 701 S.W.2d 637,
639 (Tex. 1985).  A final judgment is one that disposes of all parties and all issues in a lawsuit.  Jack
B. Anglin Co., Inc. v. Tipps, 842 S.W.2d 266, 272 (Tex. 1992).

	The underlying facts show that seven persons were killed in a gas well blowout while in the
process of completing that well.  Sonat was the drilling company.  The pleadings reflect that Sonat
hired Cudd Pressure Control, Inc. to complete the well and that Cudd hired Brooks Well Servicing
Company to provide some equipment for the procedure. 

The background of this appeal.

	A lawsuit was brought by the injured parties against Sonat and Cudd.  Sonat then brought a
cross-claim for contractual indemnity against Cudd and filed a separate lawsuit against Brooks
seeking contractual indemnity.  The trial court consolidated the two lawsuits under cause number
99-0199, (1) making Sonat's claim against Brooks in essence a third-party claim.  

	Upon request of the parties, the trial court then severed Sonat's contractual indemnity claims
against Cudd and Brooks from the main lawsuit.  The severed indemnity claims retained the same
name as the main lawsuit, but the cause was numbered 99-0199-1. 

The specific situation that causes a jurisdictional question.

	When the severed indemnity claims were about to proceed to trial, Brooks filed a motion to
continue the trial because its attorney was not available.  Sonat stated that it did not oppose the
motion, but requested that a separate trial be held on its claim against Cudd and that the trial proceed
as scheduled.   Sonat provided several reasons to support its request, pointing out that the indemnity
claims were not based on common contractual grounds and that the positions of the defendants
differed.  Sonat argued that separate trials would actually make the case more easily understood and
also that further delay could prejudice Sonat because of a possible exhaustion of the insurance
proceeds.  Finally, Sonat pointed out that Tex. R. Civ. P. 174(b) expressly authorizes separate trials
of cross-claims and third-party claims.  

	The trial court granted the motion for separate trials, directing that the claims by Sonat
against Cudd proceed as scheduled.  Less than two weeks after the trial court ordered separate trials,
and less than ten days before trial, Sonat filed its second and third amended petitions.  Although the
listed plaintiff remains Teresa Creel, the amended pleadings omit any reference to Brooks Well
Servicing Company both in the caption listing the defendants and in the body of the petitions.  The
claims by Sonat against Brooks were not severed, but remain pending in the 71st Judicial District
Court of Harrison County, Texas, and are set for jury trial on June 24, 2002.  

Cudd's response.

	Cudd does not take the explicit position that the judgment is final, but points out that because
the finality is arguable, it could not risk losing its appeal should this Court eventually conclude that
it was final. 

On the merits.

	As a general rule, the omission of a defendant from a plaintiff's amended petition has the
effect of dismissing that defendant from the lawsuit. (2)  We were recently required to address this issue
in Woodruff v. Wright, 51 S.W.3d 727 (Tex. App.-Texarkana 2001, pet. denied).  That case involved
successive amended petitions by the plaintiffs that omitted, in turn, all of the plaintiffs.  As we
discussed in that opinion, the traditional view would have required dismissal of the lawsuit because
the amended pleading supplanted the earlier pleadings.  We distinguished Woodruff, however, based
in part on the Texas Supreme Court's opinion in Am. Petrofina, Inc. v. Allen, 887 S.W.2d 829 (Tex.
1994).  That case involved what the Court concluded to be the inadvertent omission by the plaintiff
of one out of 985 plaintiffs in an amended petition.  The Court found that since the omission was
inadvertent, and since it did not prejudicially affect the opposing party, the later pleadings that re-added the missing plaintiff related back to the prior pleadings.  

	Under the traditional view of this situation as we discussed in Woodruff, the result of the
omission of the defendant in the amended pleading is to drop that defendant from the lawsuit.   In
a typical situation, where there has been no order for separate trials and all the parties remain set for
a single trial together, we believe that is the correct result.  In this case, however, there is one
differentiating factor that we find dispositive.  The action against Brooks had been set for a separate
trial.  The trial against Cudd was to begin in less than two weeks,  while the trial against Brooks had
been postponed indefinitely.  As in Woodruff, we can understand how, in this situation, and in an
effort to focus for trial, "counsel might prepare a petition that provides that focus, without realizing
the ramifications of his act."  Woodruff, 51 S.W.3d at 733.  

	We hold that, in a case involving multiple parties, and after there has been an order for
separate trials (as opposed to a severance) for some of those parties, a plaintiff does not automatically
dismiss a previously named party (co-plaintiff or defendant) by filing pleadings pertaining to one
separate trial that omit that party whose rights or liabilities are the subject of another separate trial
in the same case.  

	We do not encourage such practices however, because they cause the confusion evident in
this case, as in Woodruff, and cause reasonable doubt about the finality of judgments and the
necessity of taking a premature appeal in order to protect the client.  This is not a desirable result. 
It causes expense to the party that would not be necessary if the time of finality were certain as well
as defeating the principle of judicial economy.  			

	We conclude that, because a portion of this same case remains live in the trial court, the
judgment against Cudd, although having the appearance of a final judgment, is not final.  Our
jurisdiction is therefore not invoked, and we must dismiss this appeal. 	

	Cudd also contends that because the judgment is not final, no supersedeas bond need be filed. 
This appears to be a correct analysis of the applicable rules, which provide that a judgment debtor
may supersede the judgment by filing a supersedeas bond.  Tex. R. App. P. 24.  Supersedeas bonds
are designed to prevent execution on a judgment.  In this case, because a portion of the case remains
pending in the trial court, the judgment of the trial court is not final.  Therefore, the prevailing party
cannot commence execution.  There is no provision for requiring a bond to secure a plaintiff during
the pendency of a lawsuit, and there is therefore no authority for requiring a supersedeas bond in this
situation.  We order the surety discharged.


	The appeal is dismissed.




						Donald R. Ross

						Justice


Date Submitted:	April 19, 2002

Date Decided:		April 19, 2002


Publish
1. The case was styled as Teresa Creel v. Sonat Exploration Company, Cudd Pressure Control,
and Mark Johnson.  Although Johnson is listed as a defendant, he does not appear to be involved
in the appeal.
2. See Crofts v. Court of Civil Appeals, 362 S.W.2d 101, 104 (Tex. 1962).


